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 9 Attorneys for United States of America

10                                   UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13   UNITED STATES OF AMERICA,                        ) Case No. CR 19-676 WHO
                                                      )
14           Plaintiff,                               ) STIPULATION TO CONTINUE STATUS
                                                      ) CONFERENCE AND [PROPOSED] ORDER
15      v.                                            )
                                                      )
16   ANTHONY FRANCIS FAULK,                           )
                                                      )
17           Defendant.                               )
                                                      )
18                                                    )

19                                               STIPULATION
20           WHEREAS, on December 10, 2019, the Grand Jury returned an indictment charging Defendant
21 with one count of conspiracy to commit wire fraud, in violation of 18 U.S.C. § 1349, and one count of

22 interstate communications with intent to extort, in violation of 18 U.S.C. § 875(d).

23           WHEREAS, this matter was set for status conference on February 17, 2022.
24           WHEREAS, on January 28, 2022, the Court, through its courtroom deputy, advised the parties of
25 a scheduling conflict on February 17, 2022, and requested the status conference be rescheduled.

26           WHEREAS, counsel for Defendant needs additional time to review the discovery, including
27 materials in a separate criminal case against Mr. Faulk in the Northern District of Georgia (CR 20-014

28 UNA), and the parties believe such additional time will facilitate a resolution of this matter.

     [PROPOSED] STIPULATED ORDER
     U.S. v. FAULK, CR 19-676 WHO                    1
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 1          WHEREAS, the COVID-19 pandemic continues to adversely affect the parties’ ability to prepare

 2 for trial.

 3          WHEREAS, on February 4, 2022, by Clerk’s Notice, the February 17, 2022 status conference

 4 was continued to April 21, 2022, at 1:30 p.m., and the time period to April 21, 2022 is also necessary for

 5 effective preparation.

 6          THEREFORE, the parties stipulate and agree that excluding time from February 17, 2022, until

 7 and including April 21, 2022, will allow for the effective preparation of counsel. See 18 U.S.C.

 8 § 3161(h)(7)(B)(iv). The parties further stipulate and agree that the ends of justice served by excluding

 9 the time from February 17, 2022, through April 21, 2022, from computation under the Speedy Trial Act

10 outweigh the best interests of the public and the Defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A),

11 (B)(iv).

12          IT IS SO STIPULATED.

13 DATED: February 8, 2022                                      STEPHANIE M. HINDS
                                                                United States Attorney
14                                                              Northern District of California
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16                                                              __/s/______________________
                                                                ROBERT S. LEACH
17                                                              Assistant United States Attorney
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     DATED: February 8, 2022                                    LIBERTYBELL LAW GROUP
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                                                                ___/s/_____________________
21                                                              JENNIFER J. WIRSHING
                                                                Attorneys for Defendant Anthony Faulk
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     [PROPOSED] STIPULATED ORDER
     U.S. v. FAULK, CR 19-676 WHO                   2
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 1                                           [PROPOSED] ORDER

 2          Based upon the facts set forth in the stipulation of the parties and for good cause shown, the

 3 Court finds that failing to exclude the time from February 17, 2022, through April 21, 2022, would

 4 unreasonably deny defense counsel and the defendant the reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv). The

 6 Court further finds that the ends of justice served by excluding the time from February 17, 2022, through

 7 April 21, 2022, from computation under the Speedy Trial Act outweigh the best interests of the public

 8 and the defendant in a speedy trial. Therefore, and with the consent of the parties, IT IS HEREBY

 9 ORDERED that the time from February 17, 2022, through April 21, 2022, shall be excluded from

10 computation under the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

11          IT IS SO ORDERED.

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13 DATED: ___________________                             ________________________________________
                                                          THE HONORABLE WILLIAM H. ORRICK
14                                                        United States District Judge

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     [PROPOSED] STIPULATED ORDER
     U.S. v. FAULK, CR 19-676 WHO                    3
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